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                             UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        TAMPA DIVISION



UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                 CASE NUMBER: 8:05-cr-478-T-30MSS
                                                                 USM NUMBER: 48338018



ANTHONY RENNARD STARKS
                                                                 Defendant's Attorney: James T. Skuthan, pda.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count@) after a plea of not guilty.
TITLE & SECTION                      NATURE OF OFFENSE                                       OFFENSE ENDED              COUNT

                                     Conspiracy to Manufacture and Possess With Intent October 27, 2005                 One
                                     to Distribute 5 Grams or More of Cocaine Basc


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
-
X Count(s) TWO and THREE of the Indictment are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Anomey for this district within 30days of any change
of name, residence, or mailing address until all times, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Anomey of any material change in economic
circumstances.


                                                                                   Date of Imposition of Original Sentence: April 28,2006




                                                                                                                                        I
                                                                                   DATE:
                                                                                                                          ID, gobf
                                                                                                                                        I
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